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                        IN THE UNITED STATES BANKRUPTCY COURT
                             FOR THE DISTRICT OF MARYLAND


 In re:                                 )                 Case No. 08-27450
                                        )                 Chapter 7
 ALAN BRIAN FABIAN,                     )
                                        )
          Debtor.                       )
 _______________________________________)                 Adv. Proc. No. 14-893
                                        )
 ALAN BRIAN FABIAN,                     )
                                        )
          Plaintiff,                    )
                                        )
          v.                            )
                                        )
 UNITED STATES OF AMERICA,              )
                                        )
          Defendant.                    )
 _______________________________________)



                                  STATUS REPORT 12/29/2017

          The United States submits the following status report to keep the Court apprised of the

developments in the above-captioned matter:

          1.     On October 27, 2017, the Tax Court continued Mr. Fabian’s Tax Court case (Dkt.

No. 25589-14) from October 30, 2017, to a special trial session on the February 5, 2018

calendar.

          2.     On December 20, 2017, Mr. Fabian’s counsel requested a continuance due to a

medical reason. The Tax Court granted Mr. Fabian’s motion on December 28, 2017, and

ordered that the case be returned to the general docket for trial or other disposition.




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       3.      Mr. Fabian is still currently negotiating with the Internal Revenue Service

Appeals Office, which retains settlement authority until the date of the Tax Court trial.



Date: December 29, 2017

                                                     RICHARD E. ZUCKERMAN
                                                     Principal Deputy Assistant Attorney General

                                                     /s/ Catriona M. Coppler
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                                                     Catriona.M.Coppler@usdoj.gov




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                                CERTIFICATE OF SERVICE

       I hereby certify that on December 29, 2017, I electronically filed the foregoing document

with the Clerk of Court using the CM/ECF system and sent, via first class mail, to the following:

                      Alan Brian Fabian
                      1139 Greenway Road
                      Cockeysville, MD 21030


                                             /s/ Catriona M. Coppler
                                             CATRIONA M. COPPLER
                                             Trial Attorney
                                             United States Department of Justice, Tax Division




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